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UNITED STATES DISTRICT COURT 793 AUS -S AMII: 12
FOR THE DISTRICT OF VERMONT
WG

UNITED STATES OF AMERICA _ )

) Case No.: 2:22-cr-109-6

vs.
)
ALEX BARNES )
ORDER

On August 7, 2023, Alex Barnes, by and through his attorney, filed a Motion to Extend
Time to File Pretrial Motions. Defendant requests an extension from August 7, 2023 to
September 7, 2023. The basis for this request is that additional time is needed to complete
discovery review with the Defendant. The Government does not oppose this request.

Pursuant to 18 U.S.C. 3161(h)(7)(A) the Court finds that the ends of justice are best
served by granting an extension of time and outweigh the best interests of the Defendant and the
public in a speedy trial.

Accordingly, Defendant’s motion is granted and all pre-trial motions in this case must be
filed on or before September 7, 2023.

It is further ordered that the period of delay resulting from the extension of time shall be
excludable in computing time in which the trial in this case must commence pursuant to the
Speedy Trial Act and this District’s Plan for Prompt Disposition of Criminal Cases.

The time to be excluded as directed above shall commence on August 7, 2023 and

continue through September 7, 2023.
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ITIS SO ORDERED.

DATED AT Burlington, Vermont this 5 day of August, 2023.

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Christina Reiss,
United States District Judge
